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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

HOSS CLC, LLC AND                           *        CIVIL ACTION NO.: 2:23-cv-02644
CODY MYERS                                  *
                                            *
VERSUS                                      *        JUDGE:
                                            *
UNDERWRITERS AT LLOYD’S,                    *        MAGISTRATE JUDGE:
LONDON                                      *
_____________________________________________________________________________________

                                  NOTICE OF REMOVAL
_____________________________________________________________________________________


TO:    Hoss CLC, LLC and Cody Myers
       Through their counsel of record:
       Anthony D. Irpino
       Bobby G. Hawkins
       IRPINO, AVIN & HAWKINS LAW FIRM
       2216 Magazine Street
       New Orleans, Louisiana 70130

                                  NOTICE OF REMOVAL

       PLEASE TAKE NOTICE that the Syndicate 1886 (hereinafter “Defendant”), identified

as Underwriters at Lloyd’s, London, in the Petition for Damages filed by Plaintiffs, Hoss CLC,

LLC and Cody Myers, pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, hereby removes the instant

action from the Civil District Court for the Parish of Orleans, State of Louisiana, to the United

States District Court for the Eastern District of Louisiana and, in support thereof, states the

following:

                                HISTORY OF THE ACTION

                                                1.

       Plaintiffs, Hoss CLC, LLC and Cody Myers, filed their Petition for Damages on May 30,

2023, in the Civil District Court for the Parish of Orleans, State of Louisiana, in the action

captioned “Hoss CLC, LLC and Cody Myers versus Underwriters at Lloyd’s, London,” bearing
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civil docket number 2023-04934, Division “M” (“state court action”). Syndicate 1886, identified

in Plaintiffs’ Petition as “Underwriters at Lloyd’s, London,” is the sole Defendant named therein.

                                                  2.

       In their Petition, Plaintiffs allege they sustained losses as the result of Hurricane Ida, which

made landfall on August 29, 2021, at properties located at 5108-5110 Laurel Street., New Orleans,

LA 70118 and 3929-3931 Coliseum Street, New Orleans, LA 70118.

                                                  3.

       Plaintiffs’ Petition further alleges that on the aforementioned date there was in effect a

policy of insurance issued by Defendant to Plaintiffs.

                                                  4.

       This Notice of Removal is timely, as it is filed within one (1) year of the filing of Plaintiffs’

Petition for Damages and within 30 days of receipt by the Defendant of the pleading wherefrom

Defendant could ascertain this case is properly removable, pursuant to 28 U.S.C. § 1446(b)(2)(B).

Defendant was served with the Petition for Damages on June 20, 2023.

                                                  5.

       No previous application has been made for the relief requested herein.

                                  GROUNDS FOR REMOVAL

                                                  6.

       Pursuant to 28 U.S.C. § 1332, diversity jurisdiction exists if the citizenship of plaintiffs are

diverse from the citizenship of defendant and the amount in controversy exceeds the jurisdictional

amount of $75,000, exclusive of interest and costs.




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                       There is Complete Diversity Among the Parties.

                                                7.

       In the Petition, Plaintiffs Hoss CLC, LLC and Cody Myers allege that at all times material

hereto, they were domiciled in the Parish of Orleans, State of Louisiana.

                                                8.

       Defendant is a citizen of the United Kingdom. QBE is the sole member of Lloyd’s

Syndicate 1886, which is a sub-syndicate of Lloyd’s Syndicate 2999, which has one sole corporate

member, QBE Corporate Limited. The ultimate parent company of QBE Corporate Limited is

QBE Insurance Group Limited, which is traded on the Australian Securities Exchange. No

publicly-held entity owns 10% or more of the stock of QBE Insurance Group Limited. QBE

Corporate Limited is registered in England and Wales. Its registered address is 30 Fenchurch

Street, London, United Kingdom, EC3M 3BD.

                                                9.

       Diversity jurisdiction is proper in the instant action, given that complete diversity of

citizenship exists between Plaintiffs and the Defendant.

                                    Amount in Controversy

                                               10.

       The removal of the instant action is authorized by the provisions of 28 U.S.C. § 1441, et

seq., given the amount in controversy exceeds the sum of $75,000, exclusive of interest and costs.

Plaintiffs’ Petition claims damages in the total amount of $182,636.68, exclusive of interest and

costs. Defendant has estimated the value of the alleged loss at $17,665.42. After application of

depreciation and the $10,500 deductible, Defendant paid Plaintiffs $4,477.74 (Exhibit “1”:

November 28, 2021 Letter).



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                                                 11.

       Plaintiffs have also prayed for an award of penalties, costs, and attorneys’ fees under La.

R.S. § 22:1892 and § 22:1973, which are also included in the amount in controversy.

                                                 12.

       Considering the foregoing, the instant litigation constitutes a “civil action brought in a State

court of which the district courts of the United States have original jurisdiction,” pursuant to 28

U.S.C. §1441(a) and, further, this case is properly removable to this Court as a “civil action” where

the matter in controversy exceeds the sum or value of $75,000, exclusive of interests and costs,

and is “between . . . [c]itizens of different States” within the meaning of 28 U.S.C. § 1332(a).

                         Venue and Other Requirements are Satisfied.

                                                 13.

       The territorial reach of the United States District Court for the Eastern District of Louisiana

encompasses Orleans Parish, where the state court action is presently pending. Accordingly,

removal to this Court is proper pursuant to 28 U.S.C. §§ 104(b)(1) and 1441(a).

                                                 14.

       Pursuant to 28 U.S.C. § 1446(d), all adverse parties are being provided with a written

Notice of Removal, and a copy of this Notice of Removal is being filed with the Civil District

Court for the Parish of Orleans.

                                                 15.

       Pursuant to 28 U.S.C. § 1446(a), and Local Uniform Civil Rule 3.2, a copy of the entire

state court record is attached hereto. Exhibit “2,” in globo.




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                                                16.

       For the aforesaid reasons, this Court has jurisdiction over this matter pursuant to 28 U.S.C.

§ 1332, and removal is appropriate pursuant to 28 U.S.C. §§ 1441 and 1446.

                                                17.

       Nothing in this Notice of Removal shall be interpreted as a waiver or relinquishment of

Defendant’s rights to assert any defense or affirmative matter available under the Louisiana Code

of Civil Procedure, Federal Rule of Civil Procedure 12, and/or any other state or federal statute.

                                 DEMAND FOR JURY TRIAL

                                                18.

       Defendant hereby demands a trial by jury as to all issues.

       WHEREFORE, Defendant respectfully request that the instant action proceed before this

Honorable Court as an action properly removed.

                                              Respectfully submitted:

                                              ADAMS HOEFER HOLWADEL, LLC

                                              _/s/   Kyle M. Truxillo        _________
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                                              1886

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                                CERTIFICATE OF SERVICE
         I do hereby certify that a copy of the foregoing pleading has been served upon counsel for
all parties via the CM/ECF filing system on this 20th day of July 2023.

                              Counsel for Plaintiffs:

                              IRPINO, AVIN & HAWKINS LAW FIRM
                              Bobby G. Hawkins (#30546)
                              2216 Magazine Street
                              New Orleans, LA 70130
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                                 ____/s/ Kyle M. Truxillo_____
                                    KYLE M. TRUXILLO




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